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                                                                  JUDGE RICHARD A. JONES
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 4                                 UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 6
 7   UNITED STATES OF AMERICA,                    )   NO. CR20-133RAJ
                                                  )
 8                   Plaintiff,                   )   ORDER GRANTING UNOPPOSED
                                                  )   MOTION TO CONTINUE TRIAL DATE
 9             vs.                                )   AND PRETRIAL MOTIONS DEADLINE
                                                  )
10   DAVID MANUEL ROSARIO,                        )
                                                  )
11                   Defendant.                   )
                                                  )
12
13         THIS MATTER having come before the Court on defendant’s unopposed

14   motion for a continuance of the trial and the pretrial motions due date, and the Court
     having considered the facts set forth in the motion, the speedy trial waiver executed by
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     defendant, and the records and files herein, the Court finds as follows:
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           The Court finds that the ends of justice will be served by ordering a continuance
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     in this case, that a continuance is necessary to ensure adequate time for effective case
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     preparation, and that these factors outweigh the best interests of the public and
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     defendant in a speedy trial.
20         1. A failure to grant the continuance would deny defense counsel the reasonable
21   time necessary for effective preparation, taking into account the exercise of due
22   diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the failure
23   to grant a continuance in the proceeding would likely result in a miscarriage of justice,
24   within the meaning of 18 U.S.C. § 3161(h)(7)(B)(i).

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26     ORDER GRANTING UNOPPOSED                                  FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL DATE AND                            1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DEADLINE - 1                                  Seattle, Washington 98101
       (David Rosario; CR20-133RAJ)                                              (206) 553-1100
              Case 2:20-cr-00133-RAJ Document 24 Filed 09/25/20 Page 2 of 2




           2. The ends of justice will be served by ordering a continuance in this case, as a
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     continuance is necessary to ensure adequate time for the defense to effectively prepare
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     for trial. All of these factors outweigh the best interests of the public and defendant in
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     a more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).
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           IT IS THEREFORE ORDERED that defendant’s Motion to Continue Trial Date
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     and Pretrial Motions Deadline (Dkt. #22) is GRANTED. The trial date shall be
 6   continued from October 26, 2020, to April 12, 2021. All pretrial motions, including
 7   motions in limine, shall be filed no later than March 4, 2021.
 8         IT IS FURTHER ORDERED that the resulting period of delay from the date of
 9   this order to the new trial date of April 12, 2021, is hereby excluded for speedy trial
10   purposes under 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv).

11
12          DATED this 25th day of September, 2020.

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14
                                                       A
                                                       The Honorable Richard A. Jones
15                                                     United States District Judge
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26     ORDER GRANTING UNOPPOSED                                   FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL DATE AND                             1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DEADLINE - 2                                   Seattle, Washington 98101
       (David Rosario; CR20-133RAJ)                                               (206) 553-1100
